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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

SPIRE GLOBAL, INC.,
Plaintiff, No, 1:25-cv-00168-GBW

V.
KPLER HOLDING SA,

Defendant.

[PROPOSED] ORDER GRANTING PLAINTIFF KPLER HOLDING SA’S
MOTION FOR EXEMPTION OF PERSONS FROM THE DISTRICT OF DELAWARE’S
MAY 17, 2024 STANDING ORDER ON PERSONAL DEVICES

The Court having considered defendant Kpler Holding SA’s (“Kpler”) Motion for
Exemption of Persons From The District Of Delaware’s May 17, 2024 Standing Order On Personal

Devices For Courtroom Technology Setup and Trial (the “Motion”),

IT IS SO ORDERED this Le 1 day of Yuet , 2025 that:

i, The Motion is GRANTED;

2, For purposes of the February 26, 2025 hearing in this case, the following persons
are exempt from the District of Delaware’s May 17, 2024 Standing Order and shall be permitted
to retain and use their personal electronic devices:

e Steven A. Cohen, counsel to Kpler
e Kevin S. Schwartz, counsel to Kpler
e Graham W. Meli, counsel to Kpler

3. Such persons listed in Paragraph 2 above shall present this Order, along with a valid

photographic I.D., to the United States Marshalls upon entry to the J. Caleb Boggs Federal Build-

ing and United States Courthouse.
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Dated: February Ly , 2025 x ;
The Honorable Gregory B. Williams
United States District Judge

